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WESTERN DIVIsIoN [" 28

 

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PHILLIP E . BOYNTON, et al . , -.

Plaintiffs,
v. No. 02-1111 Ml/An

HEADWATERS, INc., et ai.,

Vvvvv`fvvv

Defendants.

 

ORDER DENYING PLAINTIFFS' MOTION FOR SANCTIONS

 

Before the Court is Plaintiffs’ Motion for Sanctions, filed
October 15, 2004. Defendant Headwaters filed a response on
October 22, 2004. For the following reasons, Plaintiffs’ motion
is DENIED.

Plaintiff moves the Court to impose sanctions on Defendant
Headwaters, Inc., its former trial counsel, Mr. Larry Laycock,
Esq., and Mr. Laycock's firm, Workman Nydegger, pursuant to 28
U.S.C. § 1927, 18 U.S.C. § 401, and Federal Rule of Civil
Procedure 37 because of Defendant’s failure to produce a document
requested in discovery.

Plaintiffs’ motion for sanctions arises out of Defendant's
belated production of a copy of a facsimile sent from Mr. Graydon
Hoover to Mr. Larry Laycock, counsel for Defendant Headwaters,
dated August 18, 1998. Plaintiffs contend that Defendant

Headwaters denied receipt of that facsimile at several points

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during the instant litigation, but then eventually produced the
document in a subsequent document production on August 6, 2004.
Plaintiffs also contend that the facsimile was within the scope
of a subpoena issued by the United States District Court for the
District of Utah on September 20, 2002, compliance with which the
parties agreed to resolve in this Court.
Plaintiffs first move for sanctions pursuant to 28 U.S.C. §
1927. Section 1927 provides that:
Any attorney or other person admitted to conduct cases
in any court of the United States or any Territory
thereof who so multiplies the proceedings in any case
unreasonably and vexatiously may be required by the
court to satisfy personally the excess costs, expenses,
and attorneys’ fees reasonably incurred because of such
conduct.

28 U.S.C. § 1927. Whether to award sanctions pursuant to § 1927

lies within the Court’s discretion. See Ridder v. Citv of

 

Springfield, 109 F.3d 288, 298 (6th Cir. 1997). Although
sanctions may be assessed without a finding of bad faith, simple
negligence or inadvertence does not support an award of sanctions
under § 1927. ld; Rather, “there must be some conduct on the
part of the subject attorney that trial judges, applying the
collective wisdom of their experience on the bench, could agree
falls short of the obligations owed by a member of the bar to the
court and which, as a result, causes additional expense to the

opposing party.” Id. (citations omitted}.

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Plaintiffs also move for sanctions pursuant to 18 U.S.C. §
401. Section 401 provides that:

A court of the United States shall have power to punish
by fine or imprisonment, or bothr at its discretion,
such contempt of its authority, and none other, as “

(l) Misbehavior of any person in its presence or
so near thereto as to obstruct the administration
of justice;

(2) Misbehavior of any of its officers in their
official transactions;

(3) Disobedience or resistance to its lawful writ,
process, order, rule, decree, or command.

18 U.S.C. § 401. Plaintiffs contend that Defendant Headwaters
should be found in either civil or criminal contempt of court and
sanctioned for its alleged failure to comply with a subpoena
duces tecum issued by the United States District Court for the
District of Utah.

Additionally, Plaintiffs move for sanctions pursuant to
Federal Rules of Civil Procedure 37(b){2) and (c)(l). Rule
37(b)(2) provides, in pertinent part:

If a party or an officer, directorr or managing agent
of a party or a person designated under Rule 30(b)(6)
or 31(a} to testify on behalf of a party fails to obey
an order to provide or permit discovery, including an
order made under subdivision (a) of this rule or Rule
35, or if a party fails to obey an order entered under
Rule 26(f), the court in which the action is pending

may make such orders in regard to the failure as are
just, and among others the following:

(D} In lieu of any of the foregoing orders or in
addition thereto, an order treating as a contempt of
court the failure to obey any orders ... ;

In lieu of any of the foregoing orders or in addition
thereto, the court shall require the party failing to

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obey the order or the attorney advising that party or
both to pay the reasonable expenses, including
attorney’s fees, caused by the failure, unless the
court finds that the failure was substantially
justified or that other circumstances make an award of
expenses unjust.

Fed. R. Civ. P. 37(b)(2). Rule 37(€)(1) provides, in pertinent
part:
A party that without substantial justification fails to
disclose information required by Rule 26(a) or
26(e)(l), or to amend a prior response to discovery as
required by Rule 26(e)(2), is not, unless such failure
is harmless, permitted to use as evidence at a trial,
at a hearing, or on a motion any witness or information
not so disclosed. In addition to or in lieu of this
sanction, the court, on motion and after affording an
opportunity to be heard, may impose other appropriate
sanctions. In addition to requiring payment of
reasonable expenses, including attorney’s fees, caused
by the failure, these sanctions may include any of the
actions authorized under Rule 37(b}(2){A), (B), and (C)
and may include informing the jury of the failure to
make the disclosure.
Fed. R. Civ. P. 37(c)(1). In particular, Plaintiffs contend that
Defendant Headwaters should be sanctioned because it failed to
comply with the Court’s April 4, 2003, Order on Motion to Compel
and to disclose the August 18, 1998, facsimile either during its
initial disclosures or to take action to correct earlier
incorrect responses.
Since the filing of Plaintiffs’ motion for sanctions, the
Court has allowed Plaintiffs to depose additional witnesses,
including Mr. Stanley Kimball and Mr. Laycock, and Defendant has

agreed that Mr. Laycock will not serve as lead trial counsel and

may be called as a witness in this case. Moreover, the August

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18, 1998, facsimile was disclosed to Plaintiffs on August 6,
2004. The fact that the trial of this case was continued from
October 2004, until September 2005, as well as the considerations
noted above, mitigate any prejudice from the late production.
Additionally, having reviewed the record and the parties’
submissions, the Court finds no indication that Defendant failed
to comply with any orders of this or any other Court or engaged
in any other misconduct either intentionally or in bad faith.
The Court also finds that Defendant has not acted unreasonably or
vexatiously or fallen short of its obligations as a member of the
bar with respect to any matter in this case. Accordingly,
considering the record and the legal standards set forth above,
the Court finds that no sanctions are appropriate. Plaintiffs’

motion for sanctions is therefore DENIED.

so 0RDERED this §§ day cf August, 2005.

QM°*

JO P. MCCALLA
U TED STATES DISTRICT JUDGE

 

 

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This notice confirms a copy of the document docketed as number 377 in
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US DISTRICT COURT

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